                                  No. 24-10707

              IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT
                                 _____________
 NATIONAL ASSOCIATION FOR GUN RIGHTS, INC.; TEXAS GUN RIGHTS,
     INC.; PATRICK CAREY; JAMES WHEELER; & TRAVIS SPEEGLE,
                               Plaintiffs-Appellees,
                                         v.
     MERRICK GARLAND, U.S. ATTORNEY GENERAL; UNITED STATES
   DEPARTMENT OF JUSTICE; STEVEN DETTELBACH, IN HIS OFFICIAL
 CAPACITY AS DIRECTOR OF THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
    EXPLOSIVES; BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
                                 EXPLOSIVES,
                            Defendants-Appellants,
                                _____________
        O N A PPEAL FROM THE U NITED S TATES D ISTRICT C OURT
                 FOR THE N ORTHERN D ISTRICT OF T EXAS
            C ASE N O . 4:23- CV -00830 (HON . R EED O’C ONNOR )
                                 _____________

                               APPELLEES’ BRIEF
                                 _____________

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                 CERTIFICATE OF INTERESTED PERSONS

      Appellees certify that the following listed persons and entities as described

in the fourth sentence of Rule 28.2.1 have an interest in the outcome of this case.

These representations are made in order that the judges of this Court may evaluate

possible disqualification or recusal:

Plaintiffs/Appellees

   1. National Association for Gun Rights, Inc. and its members, including, without
      limitation: Rare Breed Triggers, LLC; Rare Breed Firearms, LLC; Lawrence
      DeMonico; Cole Leleux; and Kevin Maxwell.
   2. Texas Gun Rights, Inc. and its members;
   3. Patrick Carey;
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EVERYTOWN FOR GUN SAFETY SUPPORT FUND

MARCH FOR OUR LIVES

                                              /s/Gary M. Lawkowski
                                              Gary M. Lawkowski




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Appellees respectfully request oral argument.




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                                 INTRODUCTION

       This case is about the Government’s efforts to enforce the law as it wished it

to be rather than the law as written by Congress.

       A forced-reset trigger (“FRT”) is a device that forcibly returns a firearm’s

trigger to its reset state, enabling a typical user to fire a weapon faster. The district

court found the following undisputed “key facts” about a weapon equipped with an

FRT:

   • “[T]he trigger moves forward into its reset state and is depressed to release

       the hammer from its sear surface for every round fired,” ROA.3698;

   • “[T]he trigger in an FRT-equipped firearm must reset after every round fired,”

       ROA.3698–99; and

   • “[A] shooter who attempts to prevent the reset by holding the trigger in a fully

       depressed position will cause the weapon to malfunction,” ROA.3699.

       Congress defined the term “machinegun” as a device that fires multiple rounds

“automatically” by a “single function of the trigger.” See 26 U.S.C. § 5845(b); 18

U.S.C. § 921(a)(24). A plurality of this Court reviewed the statutory language and

concluded that “single function of the trigger” referred to the mechanical process by

which a gun is fired, finding “the statutory definition of machinegun unambiguously

turns on the movement of the trigger and not a trigger finger.” Cargill v. Garland,

57 F.4th 447, 460 (5th Cir. 2023) (en banc) (pl. op.).

                                           1
      The Supreme Court agreed. Garland v. Cargill, 602 U.S. 406 (2024). It

affirmed the judgment of this Court and found “the phrase ‘function of the trigger’

… refers to the mode of action by which the trigger activates the firing mechanism,”

which, on weapons with a curved metal lever as a trigger, “means the physical trigger

movement required to shoot the firearm.” Id. at 416. It clarified that in a semi-

automatic weapon, “[f]or each shot, the shooter must engage the trigger and then

release the trigger to allow it to reset. Any additional shot fired after one cycle is the

result of a separate and distinct ‘function of the trigger.’” Id. at 421.

      The Government seeks to disregard these conclusions selectively. It would

prefer to focus on whether the shooter must “take pressure off” the trigger in between

shots by making what the Government deems acceptably large finger movements.

See, e.g., Opening Br. at 2. But this is nothing more than shooter input by another

name—it has no bearing on the mechanical function of the trigger.

      Cargill’s interpretation of the statutory language is fatal to the Government’s

arguments and dispositive of this case. The undisputed “key facts” identified by the

district court “demonstrate that an FRT-equipped firearm must function for each and

every round fired” and thus is not a “machinegun.” ROA.3699.

      Given that FRTs are not machineguns, the Government’s concerns about the

district court’s remedies miss the mark. The ATF’s classification of FRTs as

machineguns was properly vacated. The Government should not be enforcing its


                                            2
ultra vires interpretation against anyone, but at minimum, it was properly enjoined

from enforcing it against the parties in this case. Similarly, the Government seized

private property based on an unlawful, now-vacated classification. Having done so,

it was properly required to return illegally seized FRTs to plaintiffs in this case.

      The judgment of the district court is correct and should be affirmed.

                       SUMMARY OF THE ARGUMENT

      1. FRTs are not “machineguns.” The trigger on a weapon equipped with an

FRT mechanically functions for every round fired. To wit, the trigger moves to

release the hammer for every round fired. The trigger resets after each round is fired.

And—unlike an M16—if all a shooter does is hold the trigger in its rearward state

(which will prevent the forced reset), the weapon will malfunction.

      The Government’s attempts to distinguish Cargill are unavailing. The

Government’s focus on a shooter’s “continuous pressure” on the trigger is nothing

more than a focus on shooter input by another name. And Cargill firmly rejected

shooter input as the key variable.

      Likewise, the Government’s focus on the “locking bar” is a red herring.

Unlike an auto sear, a locking bar does not alter the trigger’s role in the firing cycle.

An auto sear bypasses the trigger, effectively removing it from the firing cycle. A

locking bar does not. In a firearm equipped with an FRT, the trigger releases the

hammer for each and every shot and must reset between each and every shot. In an


                                           3
automatic weapon, by contrast, the trigger moves only for the first shot, does not

reset between each subsequent shot, and plays no role in releasing the hammer for

subsequent shots.

      2. The district court properly found that the associational plaintiffs have

standing. The Government’s insinuation that all members of an associational

plaintiff must have standing for relief to flow to members of the association is

contrary to law and, if adopted, would functionally eviscerate associational standing

as a concept.

      Next, the Government applies the wrong test in claiming that the associational

plaintiffs are not membership organizations. The associational plaintiffs are

traditional membership organizations whose membership status is defined in their

respective corporate documents. As such, they are not subject to the “indicia of

membership” test.

      3. Remedies are considered only after a determination on the merits in

Plaintiffs’ favor. Thus, any discussion of remedies must be in the context that FRTs

are not machineguns and the Government’s contrary classification was unlawful.

The Government’s concerns about administrative difficulties are a product of its own

intransigence in applying the judgment of the district court. The Government

disregards the universal application of the district court’s vacatur in seeking to apply




                                           4
its ultra vires determination that FRTs are machineguns to persons who are not

named parties in this case.

        Because FRTs are not machineguns, the district court properly enjoined the

Government from pursuing criminal enforcement proceedings against persons who

are parties to this case.

        Finally, the Government errs in suggesting—without analysis—that relief is

limited only to persons who were members of the associational plaintiff groups at

the time the complaint was filed. In past cases, this Court has properly extended

relief to current and even future members of associational plaintiffs without

transgressing the boundaries of Article III, and there is no bar to doing so in this

case.

                                  ARGUMENT

   I.      FRTs are Not Machineguns

        a. How Triggers Operate

        Although there are many methods by which a trigger can initiate a firing

sequence, the most common and well-known is through the release of a hammer.

ROA.3664 (“The basic function of any trigger is to release the hammer.”);

ROA.4072:17–19 (ATF expert stating the function of an AR-15’s trigger “is to

release the hammer”). For example, in a semi-automatic trigger, a “trigger sear”

interconnects with a notch of the hammer to retain the hammer in place. See


                                         5
ROA.3664. When a shooter is ready to fire, the shooter pulls the trigger rearward,

thus shifting the trigger sear away from the hammer notch, releasing the hammer,

and allowing it to fall forward to strike the firing pin. See id. This results in a

discharge of the cartridge and the subsequent rearward travel of the “bolt carrier”

through the force of that discharge. See ROA.3664–65.

       In a standard semi-automatic firearm, the rearward travel of the bolt carrier

depresses the hammer back down, where a “disconnector” catches the top of the

hammer and prevents the hammer from following the bolt carrier and falling forward

again. See ROA.4179:11–16. The disconnector continues to hold the hammer fully

rearward, preventing an additional discharge, until the trigger is allowed to be moved

to its reset position by the trigger-return spring. See ROA.3365. Once the trigger is

allowed to move forward, the trigger sear reengages the hammer as the disconnector

releases the hammer, and the firing cycle is completed. See id. This re-engagement

between the trigger sear and the hammer resets the firing cycle and prepares the

weapon to be fired again. Put another way, one shot is fired per function of the

trigger. See id.

       In the case of a fully automatic trigger, or “machinegun” under Section

5845(b), the above sequence is significantly different when these weapons are set to

automatic fire. See ROA.3706. Although the sequence begins with the shooter

moving the trigger rearward to release the hammer from the trigger sear, it is not


                                          6
necessary for the trigger to reset before the hammer can fall forward again. Id.

Instead, after the first shot is fired, a component called an “auto-sear” takes over the

function of retaining and releasing the hammer and begins performing these actions

automatically, causing the weapon to fire repeatedly without any subsequent

involvement of the trigger until either (1) the ammunition is spent, (2) the firearm

malfunctions, or (3) the shooter releases the trigger and thus allows the trigger sear

to reengage the hammer. ROA.3706–07. In this scenario, although there is still only

one function of the trigger, multiple shots are (or can be) fired before the trigger

reengages the hammer and the sequence is completed. ROA.3706.

      An FRT is a device that forcibly returns the trigger to its reset state.1 ROA.

3365. In a firearm fitted with an FRT, the process begins the same way as with a

traditional semi-automatic trigger: The shooter actuates the trigger, the trigger sear

disengages, and the hammer falls forward to strike the firing pin, discharging a shot

and causing the bolt carrier group to travel rearward. Id.; ROA.3706. With an FRT,

as the bolt carrier group travels rearward and pushes against the hammer, the

hammer is, in turn, pushed into the top of the trigger and forcibly pivoted forward to

its reset position, causing it to retain the hammer again. Unlike the above-described


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  The Government suggests that this case is limited to two FRTs: the FRT-15 and
WOT. See Opening Br. at 1 (“This case concerns two replacement triggers for AR15-
type rifles: the FRT-15 and Wide Open Trigger (WOT).”). This is incorrect. The
Complaint sought, and the judgment declared, all FRTs, as defined by the district
court, not to be machineguns. See Complaint (ECF 1); ROA.3715–16.
                                           7
process for a traditional semi-automatic trigger, an FRT has an additional safety

mechanism known as a “locking bar.” See ROA.3665; ROA.3706. As the district

court found, it is undisputed that “[a] ‘locking bar’ mechanically locks the trigger in

its reset state, preventing the user from moving the trigger rearward to function by

releasing the hammer, until the bolt has returned to the in-battery position and the

firearm is safe to fire.” ROA.3665. “When firing multiple shots using an FRT, the

trigger must still reset after each round is fired and must separately function to

release the hammer by moving far enough to the rear in order to fire the next round.”

Id.

         Three “key facts”—each “undisputed”—emerge from this description:

      • “[T]he trigger moves forward into its reset state and is depressed to release

         the hammer from its sear surface for every round fired,” ROA.3698;

      • “[T]he trigger in an FRT-equipped firearm must reset after every round fired,”

         ROA.3698–99; and

      • “[A] shooter who attempts to prevent the reset by holding the trigger in a fully

         depressed position will cause the weapon to malfunction,” ROA.3699.

Thus, like a bump stock, an FRT does not transform a semi-automatic gun into a

machinegun. It merely “reduces the amount of time that elapses between separate

‘functions’ of the trigger.” Cargill, 602 U.S. at 421. As with a bump stock, “[a]

shooter must also actively maintain just the right amount” of pressure on the trigger:

                                            8
too much pressure, the gun will malfunction; too little, it will not fire a second shot.

See id. at 424. With a bump stock, the trigger is reset by a trigger spring and then

moved into contact with a stationary finger, which causes the trigger to be actuated

(engaged, i.e., moved). With an FRT, the trigger is forcibly reset, and then trigger

movement to release the hammer is caused by the shooter’s finger engaging the

trigger (moving toward the rear) each time a round is fired.

      b. The Government Misreads Cargill by Focusing on Shooter Input

      Cargill is clear: It is the physical movement of the trigger that matters, not the

movement of the trigger finger or the pull of the trigger. Id. at 422. Cargill found

that “the phrase ‘function of the trigger’ … refers to the mode of action by which the

trigger activates the firing mechanism,” which, on weapons with a curved metal

lever as a trigger, “means the physical trigger movement required to shoot the

firearm.” Id. at 416. The statute “does not define a machinegun based on what type

of human input engages the trigger—whether it be a pull, bump, or something else[,]

[n]or does it define a machinegun based on whether a shooter has assistance in

engaging the trigger.” Id. at 422.

      In a semi-automatic weapon, “[f]or each shot, the shooter must engage the

trigger and then release the trigger to allow it to reset. Any additional shot fired after

one cycle is the result of a separate and distinct ‘function of the trigger.’” Id. at 421.

Shooter input is not and cannot be the test for determining whether a weapon is a


                                            9
“machinegun.” Thus, Cargill is clear: It is the physical movement of the trigger that

matters, not the movement of the trigger finger or the pull of the trigger.

      i.     The Government’s Focus on Shooter “Engagement” and
             “Continuous Pull” of the Trigger is Shooter Input by Another
             Name

      The Government seeks to smuggle the “pull” of the trigger through the back

door by effectively redefining “engage” to mean a conscious pull. For example, the

Government claims, “[W]ith these devices equipped, the shooter can engage the

trigger once, apply continuous and steady pressure to the trigger, and fire

repeatedly,” Opening Br. at 1, and asserts that “the salient point is that these devices

allow a shooter to engage the trigger once and apply continuous pressure while the

weapon fires repeatedly. Thus, the shooter has no need to ‘release and reengage’ the

trigger or ‘take[] pressure off’ the trigger for each shot.” Id. at 5.

      The Government’s use of the term “engage” is inconsistent with Cargill.

Cargill states that the shooter “engages the trigger by moving it backwards.” (with

reference to the lower arrow in Fig. 2).




                                           10
Cargill, 602 U.S. at 418. In other words, as used in Cargill, to “engage” the trigger

is to actuate it. It is not synonymous with a conscious pull of the trigger.

      Nor could it be. Cargill acknowledges that “a shooter manually bump firing a

semiautomatic rifle can achieve continuous fire by holding his trigger finger

stationary and maintaining forward pressure with his nontrigger hand.” Id. at 423. It

does not matter that the trigger finger does not move. It does not matter that the

pressure from the nontrigger hand—the force that actuates the trigger each time–is

“maintained.” Under Cargill, a firearm with a bumpstock is not a machinegun

because the trigger still moves forward and backward for each and every shot,

resetting in between. It is undisputed that this is how weapons equipped with FRTs

work as well.

      The Government’s conflation of “engaging” the trigger with a “continuous

pull” of the trigger gives the game away. The statute “does not define a machinegun

based on what type of human input engages the trigger—whether it be a pull, bump,

or something else.” Id. at 422. Stripped down, the Government’s criticism of the

district court’s application of Cargill is shooter input by another name. The district

court correctly applied Cargill.




                                          11
      ii.    The Government’s Reference to Initiating a Firing Sequence is a
             Reference to Shooter Input by Another Name

      The Government also seeks to reintroduce shooter input by claiming that “the

shooter engages the trigger just once to initiate the firing sequence.” Opening Br. at

21.

      This just rehashes the Government’s losing argument in Cargill, where it

argued, “A bump stock allows a shooter to initiate a multi-shot bump-firing sequence

with a single motion: either pulling the trigger or sliding the rifle forward in order to

press the trigger against the stationary trigger finger. Once that bump-firing sequence

begins, the weapon continues to shoot hundreds of rounds per minute without further

manipulation of the trigger by the shooter.” Brief for Petitioners at 15, Garland v.

Cargill, 602 U.S. 406 (2024) (No. 22-976), 2023 WL 8836097, at *15.

      Cargill explicitly and emphatically rejected this argument, stating, “Congress

did not write a statutory definition of ‘machinegun’ keyed to when a firing sequence

begins and ends.” Cargill, 602 U.S. at 423. Indeed, Cargill criticized the ATF,

noting, “ATF resists the natural implication of its reasoning, insisting that the

bumping motion is a ‘function of the trigger’ only when it initiates, but not when it

continues, a firing sequence.” Id. The same may be said of the ATF’s position in this

case: It treats a shooter’s rearward pressure on the trigger as a “function of the

trigger” for the first shot but disregards it for each additional shot, even though each



                                           12
additional shot results from the trigger being moved again by the shooter to release

the hammer.

      Together, these key passages distinguish FRTs from the more exotic examples

and hypotheticals cited by the Government. Unlike the open-bolt gun described in

United States v. Carter, 465 F.3d 658 (6th Cir. 2006) (per curiam), Opening Br. at

23, a trigger equipped with an FRT does not move back and forth “automatically.”

And unlike the mythical, hypothetical trigger that moves and releases the hammer

after a shooter removes his finger, a weapon equipped with an FRT will not continue

to fire without an external force. As the district court found as a matter of fact, “[I]f

all the shooter does is initially pull the trigger, the FRT-equipped firearm will only

fire one round.” ROA.3704. “With FRTs, an external force must be applied by the

user to cause the trigger to function (or actuate) each time a shot is fired. The only

force that moves the trigger rearward in an FRT comes from the user’s finger.”

ROA.3708. The trigger in a weapon equipped with an FRT will only move if a

shooter applies pressure. If a shooter does not apply pressure, it does not move.

      iii.    The Government’s Zip-Tie Test is Irrelevant

      Consistent with their focus on shooter input, Appellants again reference their

infamous “zip tie” test. See Opening Br. at 19. But both the district court and this

Court rejected this parlor trick. To wit, the district court found:

      In a machinegun, the trigger must be held in its rearmost position for
      the gun to fire automatically. The machinegun’s trigger does not reset
                                           13
      in between each shot. But in an FRT-equipped firearm, the trigger must
      still reset in between each shot—even when depressed in a rearward
      state by the zip tie. Defendants’ zip tie does not appear to hold the FRT
      trigger still in its most rearward position. If it did, the weapon would
      malfunction and not fire subsequent shots. Instead, the elasticity in the
      zip tie allows for sufficient movement to allow for a trigger reset. All
      this test establishes is that the trigger need not move to its most rearward
      position. It can still reset from sufficient rearward pressure and forward
      movement propelled by the stretched zip tie. In other words, the zip tie
      test fails to demonstrate that a single function of the trigger does not
      otherwise occur for each shot since the trigger's operative function is
      the reset of the hammer—not how the user or a zip tip pulls the trigger.
      The zip tie test is irrelevant to the statutory definition provided by
      Congress and as interpreted by Cargill.

ROA.3707 (emphasis added). The district court reached a similar conclusion at the

preliminary injunction phase, which was quoted and cited favorably by this Court in

rejecting the Government’s Motion for an Emergency Stay. ROA.2142. The zip tie

is a modification—the addition of a spring that is not part of the FRT to provide an

external force to actuate the trigger.

      Despite having multiple bites at this apple, the Government makes no effort

to show that the district court’s factual finding was clearly erroneous, yet effectively

asks this Court to reject it. This Court should decline that invitation. See, e.g.,

Luwisch v. Am. Marine Corp., 956 F.3d 320, 326 (5th Cir. 2020) (clear error review

applies to district court’s factual findings).

      c. A Locking Bar is Not an Auto Sear

      The     Government      claims     FRTs    “are …     practically   and    legally

indistinguishable from a machinegun equipped with an auto sear” because they
                                           14
replace the disconnector with a locking bar. Opening Br. at 20. This mischaracterizes

what a locking bar and auto sear do to create a false equivalence.

      An auto sear bypasses the trigger, effectively removing it from the firing

cycle. In an automatic weapon equipped with an auto sear, the trigger moves only

for the first shot, does not reset between each subsequent shot, and plays no role in

releasing the hammer for subsequent shots.

      The locking bar does not bypass the trigger. In fact, the locking bar

mechanically locks the trigger in the reset position between each shot fired so that it

has to be actuated separately for each shot fired. In a firearm equipped with an FRT,

the trigger releases the hammer for each and every shot and must reset between each

and every shot. Thus, the trigger mechanically functions for each and every shot in

a weapon equipped with an FRT.

      The district court correctly described and acknowledged this distinction,

finding that the locking bar “does not alter the basic mechanical process where the

trigger moves for every shot fired.” ROA.3706. As the district court stated:

      Defendants agree that the trigger in an FRT-equipped firearm releases
      the hammer for every shot. By contrast, the auto sear in a fully
      automatic gun takes over to retain and release the hammer for all
      subsequent shots so that its trigger functions only once in a string of
      automatic fire…. An FRT-equipped firearm contains a locking bar that
      prevents a subsequent trigger function until the weapon is safe to fire
      again. But this is not the same as an auto sear. Unlike an auto sear, the
      locking bar still prevents firing until it is safe to do so again after
      unlocking the trigger.


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Id. (footnotes and citations omitted).

         The Government’s focus on the locking bar is a red herring. The locking bar

is not an auto sear. It does not bypass the trigger, which must still move for each and

every shot, and it does not alter the “basic mechanical process” of firing a semi-

automatic weapon where the trigger releases the hammer for each and every shot

fired.

         d. FRTs Also Do Not Operate “Automatically”

         The Government seeks to mislead this Court by falsely claiming, “The district

court did not question that a rifle with the devices at issue here installed operates

‘automatically.’”2 Opening Br. at 14. The district court rejected this premise.

         For example, the district court explained:

         [U]nlike a switch-activated device that takes over as the legal trigger of
         the weapon, FRTs do not alter the basic operation [of] the trigger: the
         trigger must still move sufficiently rearward for each shot based on
         external manual input from the shooter. This, in turn, activates the
         trigger’s function—releasing and resetting the hammer …. This is
         critical because the actuation is what causes the automatic function.
         FRTs do not include any internal spring or other means to assist
         actuation of the trigger. With FRTs, an external force must be applied

2
   This is not the first time the Government has attempted this deception. The
Government previously told this Court “no one doubts that [FRTs] operate
‘automatically’” and “there is no dispute that when a shooter replaces the standard
trigger on an AR-15-type rifle with an FRT-15 or WOT, the shooter can pull the
trigger once and automatically fire repeatedly.” Opening Br. at 20, Nat’l Ass’n for
Gun Rts. v. Garland, No. 23-11138, ECF No. 54. Plaintiffs corrected the
Government’s misstatement in their Appellees’ Brief. Appellees’ Br. at 20, Nat’l
Ass’n for Gun Rts. v. Garland, No. 23-11138, ECF No. 59.

                                            16
      by the user to cause the trigger to function (or actuate) each time a shot
      is fired.

ROA.3708 (emphasis added).

      The Government cannot wish away an element of the definition of

“machinegun” by claiming, “[t]he sole question is thus whether these devices

operate ‘by a single function of the trigger.’” Opening Br. at 14. FRTs also do not

operate “automatically.”

      e. The Government’s Focus on the ATF’s Prior Classifications is Both
         Misleading and Immaterial

      The Government claims the district court erred because “the ATF has

regarded devices of the kind at issue here as machineguns since first encountering

one in 1975.” Id. at 25.

      Even on its own terms, this purported history is irrelevant. The Government

may not rewrite criminal statutes if it does so fast enough. A long history of being

wrong does not make the Government’s interpretation correct now. Cargill clarified

how to interpret “automatically” “by a single function of the trigger.” FRTs do not

meet the statutory definition as clarified in Cargill. Any prior ATF determination to

the contrary is immaterial because it applied an erroneous legal standard and has

now been vacated.

      And the Government’s claim should not be taken at face value because it

misleadingly omits that the Government has applied constantly shifting “tests” to


                                         17
reach its preferred conclusions. The Government used at least five different

interpretations of “single function of the trigger” prior to Cargill, including “single

pull of the trigger and analogous motions,”3 “constant rearward pressure,”4

“continuous pull,”5 “constant rearward pull” or “single function of the trigger means

single pull of the trigger,” 6 and “initiation of the firing sequence” plus “constant

rearward pressure.”7 Now that these avenues have been foreclosed by Cargill, the

Government appears to be casting about for a sixth definition to evade the plain

meaning of the Court’s decision. As the Supreme Court noted, the “statutory

definition of ‘machinegun’ does not include a firearm that shoots more than one

round ‘automatically’ by a single pull of the trigger AND THEN SOME.” Cargill,

602 U.S. at 424 (quoting Guedes v. ATF, 920 F.3d 1, 44 (D.C. Cir. 2019)

(Henderson, J., concurring in part and dissenting in part)).




3
    See 27 C.F.R §§ 447.11, 478.11, 479.11.
4
 ROA.1561–626, ATF’s FRT Report, July 15, 2021; ROA.1626–42, ATF’s WOT
Report, October 21, 2021.
5
    ROA.1561–626, ATF’s FRT Report, July 15, 2021.
6
 ROA.1646–702, ATF’s FRT Report, April 27, 2023, at 5; ROA.1748, Prelim. Inj.
Hr’g. Tr. 162:1–4, United States v. Rare Breed Triggers, LLC, No. 23-cv-369
(NRM) (RML), 2023 WL 5689770 (E.D.N.Y. Aug. 1, 2023).
7
    ROA.1727, Prelim. Inj. Hr’g. Tr. 130:10–17.

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         To the extent there is any consistency in the Government’s approach to FRTs,

it is that the Government would like to ban them. But the Government is limited to

the statute it has, not the one it wishes it had. As Justice Alito observed, “There is a

simple remedy …. Congress can amend the law—and perhaps would have done so

already if ATF had stuck with its earlier interpretation.” Id. at 429. Congress has not

done so, and the Government cannot do so by administrative fiat, whether today or

any other time in its history.

         This circuit’s en banc plurality in Cargill—that the statute unambiguously

excluded bump stocks—was affirmed by the Supreme Court. But the law of this

circuit’s en banc majority opinion—that if ambiguous, lenity applies—remains. In

the event the statute is found to be ambiguous as applied to FRTs, then lenity applies

to the Plaintiffs’ favor. Justice Sotomayor expressed in her dissent a concern that the

application of the statute may be ambiguous as to FRTs as a result of the majority’s

position. Cargill, 602 U.S. at 1635 n.7 (Sotomayor, J., dissenting).

   II.      The Associational Plaintiffs Have Standing

         The district court correctly found that the National Association for Gun Rights

and Texas Gun Rights have associational standing: each group has individual

members who would otherwise have standing to sue in their own right, including the

named individual plaintiffs, the interests each group seeks to pursue are germane to

the organizational purposes—inter alia, defending the Second Amendment rights of


                                           19
their members—and the relief requested—vacatur and permanent injunction does

not require the participation of all of the organization’s members. See ROA.3679–

80; Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 143

S. Ct. 2141, 2157 (2023); Hunt v. Wash. St. Apple Advert. Comm’n., 432 U.S. 333,

342 (1977).

      Tellingly, many courts have found that both of these associational plaintiffs

have standing to bring claims on behalf of their members. See, e.g., Texas Gun Rts.,

Inc. v. ATF, No. 4:23-cv-00578-O, 2023 WL 8352316, at *2 (N.D. Tex. Oct. 4, 2023)

(finding the National Association for Gun Rights and Texas Gun Rights have

associational standing to bring suit on behalf of their members); Nat’l Assoc. for Gun

Rts. v. Grisham, No. 1:23-cv-00771-DHU-LF, 2023 WL 5951940, at *2 (D.N.M.

Sept. 13, 2023) (describing NAGR as an organizational plaintiff bringing suit on

behalf of its members); Bevis v. City of Naperville, Ill., 657 F. Supp. 3d 1052, 1061

(N.D. Ill. 2023) (mem.) (finding associational standing).

      a. The Associational Plaintiffs Have Established that at Least One
         Member Has Standing, as Required for Associational Standing

      In response, the Government first claims the court erred because “[n]either

NAGR nor TGR has ever asserted that all of its members have standing to bring this

suit,” suggesting that they must do so to have standing. Opening Br. at 29. This is a

frivolous argument that, if adopted, would effectively eliminate associational

standing. In pressing this argument, the Government willfully misreads the cases it

                                         20
cites. To wit, Summers v. Earth Island Institute states, “[O]ur prior cases … have

required plaintiff-organizations to make specific allegations establishing that at least

one identified member had suffered or would suffer harm.” 555 U.S. 488, 498 (2009)

(emphasis added). Summers requires organizations to identify at least one or more

individuals who have been harmed rather than rely upon probabilistic assumptions;

it does not require an organization to show that every member of the organization

has been harmed. If it were otherwise, the third Hunt factor, evaluating whether a

case required the participation of the individual members, would be nonsensical

because every case would require the participation of the individual members.

      The Government does not contest that the individual Plaintiffs have standing

and acknowledges that the individual Plaintiffs are members of each associational

Plaintiff. See Opening Br. at 7 (“All three individuals are also members of two

plaintiff organizations—the National Association for Gun Rights, Inc. (NAGR) and

Texas Gun Rights (TGR). ROA.1281-83.”). This establishes that each associational

plaintiff has at least one member with standing, which suffices to establish

associational standing.

      b. The Government Seeks to Apply the Wrong Test to Traditional
         Membership Organizations

      Next, the Government claims that the associational plaintiffs have not

established that they are “membership organizations.” Opening Br. at 29. In doing

so, the Government applies the wrong test.

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      Both the National Association for Gun Rights and Texas Gun Rights have

predetermined membership structures set forth in their bylaws and corporate

resolutions, respectively. See ROA.3461–62 (Flugaur Declaration); ROA.3463–64

(McNutt Declaration); see also generally Students for Fair Admission, Inc. v. Univ.

of Tex. at Austin, 37 F.4th 1078, 1085 (5th Cir. 2022) (finding an organization was

a traditional membership organization where the organization “complied with its

bylaws in creating members.”). This makes them traditional membership

organizations.8

      Since the associational plaintiffs are traditional membership organizations,

Defendants’ reference to Friends of the Earth, Inc. v. Chevron Chem. Co.¸ 129 F.3d

826 (5th Cir. 1997), and its analysis of “indicia of membership” is inapposite. See

Students for Fair Admission, 37 F.4th at 1085. To wit, this Court found “Friends of

the Earth is inapposite” when “[i]t is undisputed that [the associational plaintiffs]

complied with [their] bylaws in creating [their] members. As the district court

explained, ‘[plaintiff’s] bylaws state that it will have members, whereas in Friends



8
  The district court made a credibility determination in concluding that Associational
Plaintiffs are membership organizations, concluding that Plaintiffs’ declaration
supporting their status as membership organizations provides more than a “bare
assertion of membership.” See ROA.3681 n.65. Thus, the district court’s finding that
the associational plaintiffs are membership organizations is properly regarded as a
finding of fact, subject to a clearly erroneous standard, rather than a finding of law.
Luwisch, 956 F.3d at 326.

                                          22
of the Earth the plaintiff’s bylaws provided that its board of directors would set

membership requirements—which they never did.’” Id. (quoting Students for Fair

Admission, Inc. v. Univ. of Tex. at Austin, No. 1:20-CV-763-RP, 2021 WL 3145667,

at *6 (W.D. Tex. Jul. 26, 2021)). 9

       Unlike the plaintiff in Friends of the Earth, the National Association for Gun

Rights’ bylaws provide membership criteria, which they have followed, while Texas

Gun Rights’ board of directors set explicit membership criteria through a board

resolution, which they have followed. They are valid membership organizations that

do not also need to satisfy the “indicia of membership” test, and the District Court

did not clearly err in so finding.

    III.   The Government’s “Administrability” Concerns are Caused by Its
           Own Intransigence, Not the District Court’s Order

       The Government can easily comply with the district court’s injunctive relief.

It knows to whom it previously mailed threatening notices. It knows from whom it

previously seized FRTs—indeed, it regularly publishes public notices of seizures.

And it can avoid initiating enforcement actions against members of the associational

plaintiffs by simply not initiating new enforcement actions that violate the injunction



9
  Even if it were not, the Associational Plaintiffs also have several “indicia of
membership,” including a clearly identified and defined membership structure and
a procedure for members to influence organizational policy through referenda. See
ROA.3461–62 (Flugaur Declaration); ROA.3463–64 (McNutt Declaration).

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or applying the statutory interpretation found to be unlawful and vacated. The

problem is not that the Government cannot comply with the court’s order.

      The problem is that it does not want to and, therefore, strains to read the order

unreasonably narrowly. The supposed difficulties the Government claims to be

encountering are entirely the result of their own willful refusal to accept the

judgment of the district court that FRTs are not machineguns.

   a. The Government Disregards the Nationwide Consequences of Vacatur

      The Government claims difficulty in refraining from initiating enforcement

actions against members of the associational plaintiffs because it does not know who

such members are. But this ignores that the Government could comply with the

district court’s order by not initiating enforcement actions against anyone. While the

injunction is limited to the plaintiffs because they are the parties before the court,

there is nothing that requires the Government to pursue enforcement actions against

any other individuals. On the contrary, vacatur of the Government’s classification

of FRTs as machineguns functionally prohibits it from doing so.

      i.     Vacatur Applies to Everyone, Not Just the Named Parties

      The district court vacated “the ATF’s classification of FRTs as machineguns.”

ROA.3713. The APA allows vacatur of unlawful agency actions, not just final rules,

and “vacatur of an agency action is the default rule in this Circuit.” Cargill, 57 F.4th

at 472; see also Data Mktg. P’ship, LP v. U.S. Dep’t of Labor, 45 F.4th 846, 859


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(5th Cir. 2022) (“The default rule is that vacatur is the appropriate remedy” for an

agency action that is otherwise not in accordance with law.). The district court noted

that vacatur has a nationwide effect. ROA.3715 (“Vacatur of the ATF’s unlawful

action—classification of FRTs as machineguns—achieves the same effect here as a

nationwide injunction.”). Thus, the effect of the court’s vacatur is not limited to just

the parties before the court.

        This is consistent with the general principles of vacatur. As Justice Kavanaugh

observed, vacatur “in the APA cannot reasonably depend on the specific party before

the court. Either the APA authorizes vacatur, or it does not.” Corner Post, Inc. v. Bd.

of Governors of Fed. Rsrv. Sys., 144 S. Ct. 2440, 2461, 2469 (2024) (Kavanaugh, J.,

concurring in the judgment). The Supreme Court “has affirmed countless decisions”

that “vacated the challenged agency rules rather than merely providing injunctive

relief that enjoined enforcement of the rules against the specific plaintiffs.” Id. at

2463.

        Justice Jackson reached a similar conclusion (as a district court judge), finding

“[i]t suffices to note here that the argument that a court can only vacate the agency’s

unlawful conduct with respect to the particular plaintiffs who have filed the legal

action that is before it has no grounding in the Article III doctrine or in any federal

statute of which this Court is aware.” Kiakombua v. Wolf, 498 F.Supp.3d 1, 52

(D.D.C. 2020) (Jackson, J.) (mem.). Rather, “conceivably, any and every person who


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might have otherwise been subjected to the government’s unlawful conduct benefits

from its vacatur.” Id. at 53.

        She harshly criticized exactly the approach the Government has taken in this

case:

        It has apparently only been in recent years that federal agencies have
        consistently and audaciously demanded an entitlement to persist in the
        unlawful conduct despite a federal court’s ruling declaring that conduct
        unlawful, which has manifested itself in the strange argument that
        Defendants have presented here—i.e., that precisely because outsiders
        might benefit from a vacatur, the Court lacks the power to vacate the
        agency action and must instead craft a remedy that permits the agency
        to continue to act in flagrant violation of the law as the court has
        announced it to be with respect to anyone who has not been joined as a
        party in the case before the court.[] Yet, here as elsewhere, Defendants
        have failed to provide any persuasive reason why the potential
        incidental benefit that is conferred to the rest of humanity when a court
        addresses unlawful agency action by vacating the agency’s conduct is
        sufficiently problematic, under the Constitution or otherwise, to justify
        limiting a federal court’s traditional power to nullify the actions of the
        defendant when that challenged conduct violates the law.”

Id. at 53–54.

        Generally, “an administrative agency that is acting in good faith and in the

public’s interest can be expected to heed the implications of the federal court’s ruling

and desist voluntarily from engaging in conduct that the court has deemed unlawful.”

Id. at 53.

        There is no administrative “difficulty” in refraining from pursuing

enforcement actions against members of the associational plaintiffs. This can be

easily accomplished by refraining from further unlawful enforcement actions.
                                           26
Instead, there is an effort to defy the “expectation” that the Government desist from

engaging in conduct the court deemed unlawful. This “audacious” “entitlement” “to

continue to act in flagrant violation of the law” is not correct and does not justify the

relief sought by the Government.

      ii.    Having Previously Premised Enforcement Actions on ATF
             “Classifications,” the Government Cannot Now Feign Ignorance of
             Their Existence or Import

      The Government next seeks to deny the import of vacatur by disingenuously

claiming “there is nothing to vacate,” suggesting that its prior classifications are

nothing more than “opinions” that are not final agency actions. See Opening Br. at

32, 33.

      That is not what the Government told thousands of citizens—including

Plaintiff Carey—in “warning notices” it mailed when it wanted to coerce them into

surrendering their FRTs. Then, the Government had no difficulty claiming FRTs

“have been classified as machineguns that were unlawfully manufactured” and

“[p]ossession of these devices is a violation of law due to their illegal manufacture,”

while threatening “[c]ontinued possession of any of the devices could result in

prosecution for criminal violations of Federal law.”10 ROA.1454–55 (Carey




10
   The Government characterizes these letters as “encouraging the voluntary
abandonment of the devices.” Opening Br. at 6. This is a bit like saying a robber
“encourages the voluntary abandonment” of one’s wallet. The Government
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Declaration (emphasis added)).

      It is also not what the Government has told sister courts. For example, the

Eastern District of New York case is an enforcement action against individuals and

companies for allegedly failing to tell consumers about ATF classifications. See,

e.g., United States v. Rare Breed Triggers, LLC, 690 F.Supp.3d 51, 59 (E.D.N.Y.

2023) (“The Government further alleges that Defendants have repeatedly misled

their customers to believe that the FRT-15 is a legal, semi-automatic trigger, despite

the ATF’s formal classification of the FRT-15 as a machinegun and Defendants’

knowledge that the ATF and the courts have classified similar devices as

machineguns.” (emphasis added)).

      The APA allows a court to “hold unlawful and set aside agency action,” not

just its formally adopted “Final Rules.” 5 U.S.C. § 706 (emphasis added). An ATF

“classification” was concrete and final enough for the Government to explicitly cite

it while threatening criminal prosecution and bringing a civil enforcement action.

The Government’s feigned ignorance now is, at best, disingenuous and, at worst,

dishonest. The Government classified FRTs as machineguns, acted upon that

classification, and demanded that American citizens act on that classification on pain

of civil and criminal liability. That is what the district court vacated.


demanded that individuals “voluntarily” surrender FRTs under the explicit threat of
prosecution if they declined to do so.

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   b. Vacatur Includes Families and Downstream Customers of Members of
      the Associational Plaintiffs, And Even If It Did Not, Their Protection Is
      Necessarily Incidental to the Protection of Members

      The Government takes issue with protections for families of members of the

associational plaintiffs and downstream customers of the associational plaintiffs. See

Opening Br. at 27. These concerns are misplaced.

      First, as described above, family members and downstream customers are also

protected by vacatur.

      Second, such protections are necessary to provide full relief to the

associational plaintiffs. As this Court previously observed, “a narrower preliminary

injunction that protects just possession—not manufacture, distribution, or transfer—

ignores that Plaintiffs must be able to acquire FRTs in order to use them.”

ROA.2144. To acquire them, they must be able to purchase them. To distribute or

sell them, the recipient or purchaser must be confident that he or she will not be

prosecuted. It is little comfort to say a NAGR member can legally sell an FRT if the

Government maintains its position that others cannot legally purchase one.

      Likewise, the commercial associational members will not receive complete

relief if the Government remains free to threaten their prospective customers with

criminal prosecution. This would have an undeniable chilling effect on the market

for a product declared to be legal and harm the manufacturers/sellers.

      Thus, this relief does not protect non-parties qua non-parties. It effectuates


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relief for members of the associational plaintiffs by ensuring that they can carry out

the protected activities. The district court’s factual determination that this quantum

of relief was necessary was not clearly erroneous and should be upheld.

   c. The District Court Appropriately Enjoined Prospective Criminal
      Enforcement

      The Government claims the district court exceeded its authority by enjoining

future criminal prosecutions based on its ultra vires classification of FRTs as

machineguns. See Opening Br. at 35. The Government raised these same arguments

at the preliminary injunction stage of this litigation. See, e.g., ROA.1309

(“Defendants once again call into question the veracity of pre-enforcement judicial

review of laws carrying criminal penalties.”). This Court found them “unpersuasive,

as the district court already explained.” Doc. 51-2 at 7. They are no more so today.

      The Supreme Court has emphasized that plaintiffs facing “a credible threat of

prosecution … should not be required to await and undergo a criminal prosecution

as the sole means of seeking relief.” Babbitt v. United Farm Workers Nat’l Union,

442 U.S. 289, 298 (1979); see also Steffel v. Thompson, 415 U.S. 452, 459 (1974)

(“[It] is not necessary that [a plaintiff] first expose himself to actual arrest or

prosecution to be entitled to challenge a statute that he claims deters the exercise of

his constitutional rights.”); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014) (“When an individual is subject to such a threat, an actual arrest, prosecution,

or other enforcement action is not a prerequisite to challenging the law.”).

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      Perhaps recognizing that their maximalist position is untenable, the

Government pivots to claiming that pre-enforcement review may be available for

constitutional claims and not others. See Opening Br. at 35–36. But this, too, is

unavailing. There is no principled basis for this distinction.

      In pressing its case, the Government relies on two cases: Stolt-Nielsen, S.A. v.

United States, 442 F.3d 177, 183 (3d Cir. 2006) and Deaver v. Seymour, 822 F.2d

66, 68–71 (D.C. Cir. 1987). But each is distinguishable.

      While Stolt-Nielsen has some broad language arguably consistent with the

Government’s thesis, its facts render it inapposite. In Stolt-Nielsen, the plaintiff sued

to enforce a conditional leniency agreement with the government that the

government purported to revoke as a consequence of the plaintiff’s behavior. As the

district court observed, Stolt-Nelson was concerned with “a fundamentally

individualized determination rather than a review of a generally applicable

administrative action. And this distinction is key.” ROA.3687.

      Similarly, Deaver is concerned with a collateral challenge to the existence of

an independent counsel on the eve of a pending indictment. It does not concern the

application of a broadly applicable administrative action. 11


11
   Moreover, Deaver’s core holding is called into question by Axon Enter., Inc. v.
Federal Trade Commission, 598 U.S. 175 (2023), which held that the subject of an
enforcement proceeding could bring a collateral challenge to the constitutional
structure of the enforcing body.

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      Next, the Government challenges the district court’s citation to the

Administrative Procedure Act, claiming that the APA’s general provisions

permitting challenges to criminal proceedings are superseded by section 702. See

Opening Br. at 37. But the Government’s bold statement would create an exception

that swallows the rule and runs counter to the text and purpose of the APA itself.

      “[T]he Administrative Procedure Act’s ‘generous review provisions’ must be

given a ‘hospitable’ interpretation.” Abbott Lab’ys v. Gardner, 387 U.S. 136, 140

(1967) (quoting Shaughnessy v. Pedreiro, 349 U.S. 48, 51 (1955)). The APA itself

refers to “mandatory or injunctive decree[s]” issued thereunder. 5 U.S.C. § 702. The

import of this text is that injunctive relief is available under the APA. Moreover, the

entire purpose of § 702 is to ensure that “[a] person suffering a legal wrong because

of agency action” is able to obtain an appropriate remedy. Id. . This purpose would

be eviscerated if it turned out that § 702 conferred no right to obtain meaningful

relief through the courts when wronged by agency action.

      The deficiency of the Government’s argument is highlighted by the

consequences of its position. The Government does not and could not challenge the

court’s authority to enter a declaratory judgment ruling finding that FRTs are not

machineguns and may not be prohibited by administrative fiat. Instead, the

Government argues that, even if that is true, the Government should still be allowed

to arrest and prosecute people for possessing them. This is a recipe for blatant Due


                                          32
Process violations. The executive branch cannot arrest and prosecute people for

things that are not crimes, and it does not violate the separation of powers for the

courts to say as much. See generally Franciscan All., Inc. v. Becerra, 47 F.4th 368,

378 (5th Cir. 2022) (“[A]n agency ‘literally has no power to act … unless and until

Congress authorizes it to do so by statute.’” (quoting FEC v. Cruz, 142 S. Ct. 1638,

1649 (2022))).

      In prior cases where injunctive relief was denied in favor of vacatur only, the

courts noted that “Defendants have represented that they will abide by the Court's

order.” See O.A. v. Trump, 404 F.Supp.3d 109, 153–54 (D.D.C. 2019). Here, the

Government is saying exactly the opposite. The best evidence of the need for

injunctive relief is the Government’s own brief. See Opening Br. at 33 (disregarding

the consequences of vacatur and alluding to engaging in a strategy of inter-circuit

nonacquiescence). The Government itself provides the strongest possible evidence

as to why vacatur is inadequate and why an injunction is both necessary and

appropriate. Absent an injunction, the Government will flout this Court’s

determination.

      And after the court’s vacatur and declaration, any such prosecution would

inherently be in bad faith and, thus, properly subject to injunction. See Wilson v.

Thompson, 593 F.2d 1375, 1381 (5th Cir. 1979) (“Our cases as well have recognized

that the bad faith exception is not limited to situations where there is a threat of


                                        33
multiple or repeated prosecutions.”).

     d. The District Court’s Order to Send Remedial Notices is Not Overbroad

       The Government is entirely responsible for the purported “confusion” alleged

to have been caused by remedial notices. The Government sent out thousands of

threatening notices claiming FRTs were machineguns. This district court (correctly)

concluded they are not. Thus, the Government’s action was unlawful. The least the

Government can (and must) do is correct its own misrepresentations.

       In response, the Government argues that another court may disagree.12 This

ignores the import of the district court’s vacatur. As the district court itself said (and

as discussed above), “[v]acatur of the ATF’s unlawful action—classification of

FRTs as machineguns—achieves the same effect here as a nationwide injunction”

because “[a]t its core, vacatur is inherently universal in character.” ROA.3715.

       The Government’s reference to litigation in the Eastern District of New York

does not compel a different result. First, procedurally, the Eastern District of New

York is at the preliminary injunction stage. There is no final judgment. Second, as

the Government notes, Plaintiffs have asked the Second Circuit to dismiss the EDNY

case based largely on the effect of the district court’s vacatur. That dismissal would


12
  The Government claims this relief “applies solely to nonparties.” Opening Br. at
13 (emphasis added). This is plainly false. Associational plaintiff members—
including plaintiff Carrey—received “warning” notices from the Government.
ROA.1454–55.

                                           34
resolve the purported tension on which the Government focuses.

         The Government engaged in a widespread campaign of misinformation to

discourage American citizens from exercising their constitutional right to bear arms

in a manner Defendants do not like. No statute or congressional directive required

the ATF to undertake its direct notification campaign. It was undertaken to chill legal

behavior by discouraging the possession, sale, or manufacture of FRTs under the

false pretense that they were illegal machineguns. The information distributed was

false and unlawful. Thus, requiring corrective notification to the same recipients of

the ATF’s targeted mailing campaign in the same manner—whether or not all

recipients are organizational members—is appropriate and is neither overly broad

nor does it create an undue risk of confusion. This is necessary for the commercial

associational plaintiffs to receive full relief. It is the only way they can manufacture

and sell without a false cloud of doubt, disseminated by the ATF, hanging over their

heads.

   e. Injunctive Relief Properly Extends Beyond Persons Who Were Members
      of the Associational Plaintiffs at the Time the Complaint was Filed

         The Government repeatedly asserts—without analysis—that relief is limited

to members of the association plaintiffs “at the time this suit was brought.” See

Opening Br. at 27–28, 38, 39. It is wrong.

         In Franciscan Alliance, the district court enjoined the federal government

“from interpreting or enforcing Section 1557 of the Affordable Care Act, 42 U.S.C.

                                          35
§ 18116(a), or any implementing regulations thereto against Plaintiffs, their current

and future members.” 553 F. Supp. 3d 361, 378 (N.D. Tex. 2021), amended, No.

7:16-CV-00108-O, 2021 WL 6774686 (N.D. Tex. Oct. 1, 2021), and aff’d in part,

dismissed in part, 47 F.4th 368 (5th Cir. 2022). This judgment was affirmed by this

Court. Franciscan All., 47 F.4th at 379–80. If Article III allows an injunction that

benefits unknown future members of a plaintiff association, then it plainly supports

an injunction that benefits individuals who were members at the time an injunction

was issued. See also Christian Emps. All. v. Azar, No. 3:16-CV-309, 2019 WL

2130142, at *4 (D.N.D. May 15, 2019) (ruling that the preliminary injunction would

apply to future members because limiting it to current members at the time of the

injunction would “result in an endless cycle of litigation as new members and the

Alliance seek to protect their rights.”); Reaching Souls Int'l Inc. v. Azar, No. CIV-

13-1092-D, 2018 WL 1352186, at *2 (W.D. Okla. March 15, 2018) (extending

injunction to “all current and future participating employers in the Guidestone

plan”).

      To the extent the Government offers any support for its position, it is a cryptic

citation to a footnote in Lujan v. Defs. of Wildlife, offered without a parenthetical

explanation, let alone analysis. Opening Br. at 28 (citing 504 U.S. 555, 570 n.5).

This citation is a non sequitur. Footnote 5 repeats the unremarkable proposition that

standing is determined at the time the complaint is filed. 504 U.S. 555, 570 n.5


                                         36
(1992) (“standing is to be determined as of the commencement of suit” (emphasis

added)). It says nothing about the scope of relief available to associational plaintiffs.

      The Government wants relief to be limited to persons who were members at

the time the complaint was filed. But neither wanting it nor complaining about it

makes it so. Relief properly extends to current and future members of the

associational plaintiffs, as it did in Franciscan Alliance.

                                   CONCLUSION

      James Madison warned that “[t]he accumulation of all powers, legislative,

executive and judiciary, in the same hands … may justly be pronounced the very

definition of tyranny.” The Federalist No. 47, at 301 (James Madison) (Clinton

Rossiter ed., 1961). Here, the Government seeks to unite the executive and

legislative power, arrogating unto itself the authority to write and enforce the law it

wishes it had rather than the one that Congress provided. This is not and cannot be

correct.

      The judgment of the district court should be affirmed.




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Date: October 29, 2024   Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 29, 2024, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Service will be accomplished by the

appellate CM/ECF system.

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